Case 3:22-cv-01213-TAD-KDM Document 10 Filed 06/14/22 Page 1 of 5 PageID #: 154




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

    STATE OF MISSOURI ex rel. ERIC S.
    SCHMITT, Attorney General, and

    STATE OF LOUISIANA ex rel. JEFFREY
    M. LANDRY, Attorney General,
                                                         Case No. 3:22-cv-01213
                    Plaintiffs,

       v.

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States, et
    al.,

                    Defendants.


                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs, the States of Missouri and Louisiana, by and through their Attorneys General,

 Eric S. Schmitt and Jeffrey M. Landry (collectively, “Plaintiffs” or “the States”), respectfully move

 this Court to grant a preliminary injunction against Defendants, prohibiting them from demanding,

 pressuring, urging, encouraging, or otherwise inducing social-media platforms to censor or

 suppress in any manner the speech of speakers, content, and viewpoint that Defendants disfavor.

 For the reasons stated in the States’ Memorandum in Support of Motion for Preliminary Injunction,

 which is filed separately and incorporated by reference herein, the Court should enter a preliminary

 injunction to address the grave irreparable harms and to vindicate the public interest in freedom of

 speech for Missouri, Louisiana, and their citizens.

        For the reasons stated in the States’ Memorandum, Plaintiffs respectfully request that this

 Court enter a preliminary injunction in three phases:



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Case 3:22-cv-01213-TAD-KDM Document 10 Filed 06/14/22 Page 2 of 5 PageID #: 155




        (1) Immediately enter a preliminary injunction preventing Defendants, and their agents,

 officers, employees, contractors and all those acting in concert with them, from taking any steps

 to demand, urge, encourage, pressure, or otherwise induce any social-media company or platform

 for online speech, or any employee, officer, or agent of any such company or platform, to censor,

 suppress, remove, de-platform, suspend, shadow-ban, de-boost, restrict access to content, or take

 any other adverse action against any speaker, content, or viewpoint expressed on social media;

        (2) Grant the States’ separately filed Motion for Preliminary-Injunction-Related Discovery,

 and authorize the States to take discovery from Defendants and third parties to identify the details

 and scope of Defendants’ social-media censorship activities, discussed herein; and

        (3) After the conclusion of such preliminary-injunction-related discovery, enter more

 specific preliminary injunctive relief to provide fully effective relief to address the details and

 scope of the conduct challenged herein.

 Dated: June 14, 2022                                         Respectfully submitted,

 ERIC S. SCHMITT                                              JEFFREY M. LANDRY
 Attorney General of Missouri                                 Attorney General of Louisiana

 /s/ D. John Sauer                                            /s/ Elizabeth B. Murrill
 D. John Sauer, Mo. Bar No. 58721*                            Elizabeth B. Murrill (La #20685)
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                                                  2
Case 3:22-cv-01213-TAD-KDM Document 10 Filed 06/14/22 Page 3 of 5 PageID #: 156




                                 CERTIFICATE OF SERVICE

        I hereby certify that, on June 14, 2022, I caused a true and correct copy of the foregoing to

 be filed with the Court’s electronic filing system, to be served by operation of the Court’s

 electronic filing system on counsel for all parties who have entered in the case. In addition, on

 June 14, 2022, I caused a true and correct copy of the foregoing to be sent by certified mail to all

 Defendants at the following addresses:

 U.S. Attorney
 Western District of Louisiana
 800 Lafayette St #2200
 Lafayette, LA 70501-6832

 Centers For Disease Control & Prevention
 1600 Clifton Road
 Atlanta, GA 30329-4027

 Attn: Civil Process Clerk
 US Attorney General
 950 Pennsylvania Ave. NW
 Washington, DC 20530-0001

 Alejandro Mayorkas
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 Office of General Counsel
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 Jen Easterly CISA Agency Stop 0380
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                                                  3
Case 3:22-cv-01213-TAD-KDM Document 10 Filed 06/14/22 Page 4 of 5 PageID #: 157




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 Washington, DC 20201

 US Attorney General
 Attn: Assistant Attorney General for Administration
 950 Pennsylvania Avenue NW
 Washington, DC 20530



                                                 4
Case 3:22-cv-01213-TAD-KDM Document 10 Filed 06/14/22 Page 5 of 5 PageID #: 158




 National Institute of Allergy & Infectious Diseases
 5601 Fishers Lane MSC 9806
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 The Honorable Joseph R. Biden, Jr.
 President of the United States
 The White House
 1600 Pennsylvania Ave. NW
 Washington, DC 20500

                                                       /s/ D. John Sauer




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